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                 EXHIBIT 1
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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLORADO

 Civil Action No. 1:24-cv-03155-SKC-MDB

 BROOKE SLUSSER, et al.,

              Plaintiffs,

 v.

 THE MOUNTAIN WEST CONFERENCE, et al.,

              Defendants.


                    DECLARATION OF WILLIAM BOCK III


       I, William Bock III, under penalties of perjury, affirm that the following

 statements are true to the best of my knowledge, information, and belief:

        1.    I am over the age of twenty-one (21).

       2.     The statements contained in this declaration are based on my

 personal knowledge and are true and accurate to the best of my knowledge,

 information, and belief.

       3.     I understand that the statements made in this declaration will be

 submitted to the Court in connection with the above-captioned case.

       4.     In response to Defendants' Motion to Dismiss and throughout these

 proceedings, Plaintiffs will refer to Mr. Fleming as a male, using the pronouns "he"

 and "him."

       5.     Plaintiffs' counsels' duty of zealous advocacy prohibits them from
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 asking participants in the case what their preferred pronouns are as required by

 this Court's Preferred Pronoun Order ("PPO").

        6.    Counsel cannot use pronouns inconsistent with biological sex m

 depositions, at trial, or in case-related communications.

        7.    I am concerned that the Court's PPO could subject me to sanctions

 merely for adhering to my personal beliefs and for zealously advocating on behalf

 of my clients.

        8.    Even if the PPO were not enforced in this case, I am concerned that

 the Court's willingness to use its contempt power to enforce the PPO in other cases

 reflects a closed mind regarding issues of sex and gender identity.

      I swear or affirm under penalties of perjury that the foregoing statements are

true to the best of my knowledge, information, and belief.

      Dated this 18th day of February, 2025.

                                         tSil::s@~ :iii)
                                       William Bock III




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